Plaintiff describes defendant as "trustee of the estate of W. C. Hungerford". Defendant asks the court to order the plaintiff to change this description to "trustee under paragraph 15 of the will of William C. Hungerford, *Page 180 
late of New Britain".
The court knows of no power which it possesses which would enable it to order a plaintiff at the behest of the defendant when he sues to so sue him in the capacity which such defendant thinks he should or would prefer.
The motives of the defendant here in making the instant motion are benign. But whether acted upon or ignored, the court has no office to perform unless and until, the plaintiff's right to maintain the cause against the defendant in the capacity in which it has chosen to sue it or to the relief which it seeks against the defendant in that capacity, is challenged.
The fact that this is an action to foreclose a tax lien will illustrate the peril of granting the instant motion were it proper to do so.
   Motion denied.